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April 10, 2018

The Honorable Jeffrey Alker Meyer
Richard C. Lee, United States Courthouse
141 Church Street
New Haven, Connecticut 06510

      Re: United States v. Andre Flotron, 3:17cr220(JAM)

Dear Judge Meyer:

       The Government respectfully submit this letter to apprise the Court of
additional authority in support of the Government’s Reply Brief Re: Front-Running
Evidence (Doc. No. 189). In United States v. Martinez, 775 F.2d 31 (2d Cir. 1985), the
Second Circuit stated:

      [I]t is well settled that a cross-examination attacking a witness’s
      credibility and character will open the door to redirect examination
      rehabilitating the witness. Evidence whose probative value might not be
      thought to outweigh its prejudicial effect if offered on direct examination
      may well be admitted during redirect examination for the purpose of
      rebutting the false impression which resulted from cross examination.

Martinez, 775 F.2d at 37 (citations, quotation marks, and ellipses omitted). That is
precisely the point the Government seeks to convey here.


                                        Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       This is to certify that on March 10, 2018, a copy of the foregoing letter was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice
of this filing will be sent by email to all parties by operation of the Court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated on
the Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF System.




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